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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

CARL CHATMAN,                                    )
                                                 )
                      Plaintiff,                 )
                                                 )
              v.                                 ) Case No. 14 C 2945
                                                 )
CITY OF CHICAGO, et al.,                         ) Judge John Z. Lee
                                                 )
                      Defendants.                ) Magistrate Judge Maria Valdez

  OPS DEFENDANTS’ RESPONSE TO REINSTATED COUNT III OF PLAINTIFF’S
            “CORRECTED” SECOND AMENDED COMPLAINT

       Defendants, Lori Lightfoot, Tisa Morris, Millicent Willis, and Karen Wojtczak (the “OPS

Defendants”), by their attorney, Terrence M. Burns of Reiter Burns LLP, for their response to

reinstated count III of plaintiff’s “corrected” second amended complaint (“SAC”), state:

                                          RESPONSE

       Count III of the SAC is not directed against the OPS Defendants. Currently pending is

the OPS Defendants’ fully briefed motion for summary judgment as to the two state law claims

remaining against them, counts IX and X. (Dkt. ## 461, 462, 508). In response to the OPS

Defendants’ motion for summary judgment, plaintiff affirmatively agreed to the complete

dismissal of Defendants Lightfoot, Morris, and Willis from this lawsuit, and to the dismissal of

the state law conspiracy claim (count X) against Defendant Wojtczak. (Dkt. # 491, at 77 n. 15).

The only remaining claim against any OPS Defendant is the IIED claim in count IX against

Defendant Wojtczak, which is subject to the OPS Defendants’ pending motion for summary

judgment.

       Although reinstated count III of the SAC is not directed against them, the OPS

Defendants file this Response to comply with the Court’s order of February 14, 2018. (Dkt.
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#524). Nothing in this Response is intended to constitute, nor should be construed, as a waiver

of the OPS Defendants’ previously stated position they are entitled to summary judgment and/or

dismissal with prejudice from this action.

       To be clear, plaintiff has conceded Defendants Lightfoot, Morris, and Willis should be

dismissed with prejudice from this entire matter (see, e.g., Dkt. #508, at 4), and Defendant

Wojtczak should be dismissed with prejudice from the state law conspiracy claim in count X (id.

at 5, n. 2). In addition, summary judgment should be entered in favor of Defendant Wojtczak

and against plaintiff on the state law IIED claim in count IX. (See Dkt. ## 461, 462, 508).

       Subject to the above statement and without waiving their rights to dismissal and/or

summary judgment, the OPS Defendants provide the following response to reinstated count III of

the SAC:

                                             COUNT III

                      42 U.S.C. § 1983 – Federal Malicious Prosecution

       Count III is not directed against and seeks no relief from the OPS Defendants. The OPS

Defendants therefore make no answer or response thereto.

       168.    Plaintiff incorporates each paragraph of this Complaint as if fully restated here.

       ANSWER:        Count III, which includes this paragraph, is not directed against the OPS

Defendants. The OPS Defendants therefore make no answer to this paragraph.

        169. In the manner described above, Defendant Holmes and the Law Enforcement
Defendants, acting as investigators, individually, jointly, and in conspiracy with one another,
falsely accused Plaintiff of criminal activity and exerted influence to initiate, continue, and
perpetuate judicial proceedings against Plaintiff without any probable cause for doing so and in
spite of the fact that they knew Plaintiff was innocent, in violation of his rights secured by the
Fourth and Fourteenth Amendments.

       ANSWER:        Count III, which includes this paragraph, is not directed against the OPS

Defendants. The OPS Defendants therefore make no answer to paragraph 169.


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        170. In so doing, these Defendants caused Plaintiff to be subjected improperly to
judicial proceedings for which there was no probable cause. These judicial proceedings were
instituted and continued maliciously, resulting in injury.

       ANSWER:        Count III, which includes this paragraph, is not directed against the OPS

Defendants. The OPS Defendants therefore make no answer to paragraph 170.

        171. The misconduct described in this Count was objectively unreasonable and was
undertaken intentionally, with malice, with reckless indifference to the rights of others, and in
total disregard of the truth and Plaintiff’s innocence.

       ANSWER:        Count III, which includes this paragraph, is not directed against the OPS

Defendants. The OPS Defendants therefore make no answer to paragraph 171.

        172. As a result of Defendants’ misconduct described in this Count, Plaintiff suffered
loss of liberty, physical and emotional pain and suffering, and other grievous and continuing
injuries and damages as set forth above.

       ANSWER:        Count III, which includes this paragraph, is not directed against the OPS

Defendants. The OPS Defendants therefore make no answer to paragraph 172.

         173. The misconduct described in this Count was undertaken pursuant to the policy
and practice of the City of Chicago in that Chicago Police Department officers regularly used
unconstitutional measures to falsely implicate criminal suspects, including by coercing false
confessions, withholding exculpatory evidence, fabricating inculpatory evidence, and otherwise
instituting and continuing prosecutions maliciously and without probable cause.

       ANSWER:        Count III, which includes this paragraph, is not directed against the OPS

Defendants. The OPS Defendants therefore make no answer to paragraph 173.

        174. This widespread practice of instituting and continuing prosecutions maliciously and
without probable cause through the use of false confessions, fabrication of inculpatory evidence,
and withholding of exculpatory evidence was so well-settled as to constitute de facto policy in the
Chicago Police Department, and was allowed to exist because municipal policymakers with
authority over the same exhibited deliberate indifference to the problem, thereby effectively
ratifying it.

       ANSWER:        Count III, which includes this paragraph, is not directed against the OPS

Defendants. The OPS Defendants therefore make no answer to paragraph 174.

       175. Furthermore, the widespread practices described in the preceding paragraphs were
allowed to flourish because the City of Chicago declined to implement sufficient training,

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discipline, and/or any legitimate mechanism for oversight or punishment, thereby leading
officers to believe that they could violate citizens’ constitutional rights with impunity.

       ANSWER:        Count III, which includes this paragraph, is not directed against the OPS

Defendants. The OPS Defendants therefore make no answer to paragraph 175.

        176. As a direct and proximate result of the City’s actions, Plaintiff’s constitutional
rights were violated and he suffered injuries and damages, as set forth in this Complaint.

       ANSWER:        Count III, which includes this paragraph, is not directed against the OPS

Defendants. The OPS Defendants therefore make no answer to paragraph 176.



Date: March 6, 2018                               Respectfully submitted,


                                                  s/ Paul A. Michalik
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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 6, 2018, I electronically filed the foregoing OPS
Defendants’ Response to Reinstated Count III of Plaintiff’s Second Amended Complaint
(Corrected) with the Clerk of the Court using the ECF system, which sent electronic notification
of the filing on the same day to:

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                                               s/ Paul A. Michalik




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